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                      IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

                                         CASE NO.

ABDERRAOUF BOUKARDOUGHA,
individually and on behalf of all others
similarly situated,                                     CLASS ACTION

      Plaintiff,                                      JURY TRIAL DEMANDED

vs.

PARKER RESTAURANT GROUP LLC,
d/b/a THE HAMPTON SOCIAL,

  Defendant.
___________________________________/


                              CLASS ACTION COMPLAINT

          Plaintiff, Abderraouf Boukardogha (“Plaintiff”), brings this class action against

Defendant, Parker Restaurant Group LLC, d/b/a The Hampton Social (“Defendant”),

and alleges as follows upon personal knowledge as to Plaintiff and Plaintiff’s own acts and

experiences, and, as to all other matters, upon information and belief, including

investigation conducted by Plaintiff’s attorneys.

                                NATURE OF THE ACTION

          1.       This is a class action under the Florida Telephone Solicitation Act

(“FTSA”), Fla. Stat. § 501.059 and the Telephone Consumer Protection Act, 47

U.S.C. § 227 et seq., (“TCPA”).
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       2.     Defendant is an American restaurant chain that sells a variety of food

and beverages to consumers.

       3.     To promote its goods and services, Defendant engages in aggressive

telephonic sales calls to consumers without having secured prior express written

consent as required under the FTSA and with no regard to consumer rights under the

TCPA.

       4.     Defendant’s telephonic sales calls have caused Plaintiff and the Class

members harm, including violations of their statutory rights, statutory damages,

annoyance, nuisance, and invasion of their privacy.

       5.     Through this action, Plaintiff seeks an injunction and statutory damages

on behalf of himself and the Class members, as defined below, and any other available

legal or equitable remedies resulting from the unlawful actions of Defendant.

                                       PARTIES

       6.     Plaintiff is a natural person who, at all times relevant to this action, was

a resident of Orange County, Florida.

       7.     Plaintiff is, and at all times relevant hereto was, an individual and a

“called party” as defined by Fla. Stat. § 501.059(1)(a) in that he was the regular user

of telephone number ***-***-7047 (the “7047 Number”) that received Defendant’s

telephonic sales calls.

       8.     Defendant is, and at all times relevant hereto was, a Florida corporation

and a “telephone solicitor” as defined by Fla. Stat. § 501.059(f). Defendant maintains

its primary place of business and headquarters in Chicago, Illinois. Defendant directs,

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markets, and provides business activities throughout the State of Florida and the

United States.

                             JURISDICTION AND VENUE

      9.     Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges

violations of a federal statute. Jurisdiction is also proper under 28 U.S.C. § 1332 as the

amount in controversy exceeds the sum of $75,000. Jurisdiction is also proper under

28 U.S.C. § 1332(d)(2) because Plaintiff alleges a class, which will result in at least one

class member belonging to a different state than that of Defendant. Plaintiff seeks up

to $1,500.00 (one-thousand-five-hundred dollars) in damages for each call in violation

of the FTSA, which, when aggregated among a proposed class numbering in the tens

of thousands, or more, exceeds the $5,000,000.00 (five-million dollars) threshold for

federal court jurisdiction under the Class Action Fairness Act (“CAFA”). Therefore,

both the elements of diversity jurisdiction and CAFA jurisdiction are present.

      10.        Defendant is subject to specific personal jurisdiction in Florida because

this suit arises out of and relates to Defendant’s significant contacts with this State.

Defendant initiated and directed, or caused to be initiated and directed, calls into

Florida in violation of the FTSA. Specifically, Defendant initiated and directed, or

caused to be initiated and directed, the transmission of calls into Florida. Plaintiff’s

claims for violation of the FTSA against Defendant, and the resulting injuries caused

to Plaintiff by Defendant’s calls, which includes the invasion of Plaintiff’s privacy,

arose in substantial part from Defendant’s direction of those messages into Florida.



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       11.    Venue is proper in the United States District Court for the Middle District

of Florida pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to

reside in any judicial district in which it is subject to the court’s personal jurisdiction,

and because Defendant provides and markets its services within this district thereby

establishing sufficient contacts to subject it to personal jurisdiction.           Further,

Defendant’s tortious conduct against Plaintiff occurred within the State of Florida and,

on information and belief, Defendant has sent the same messages complained of by

Plaintiff to other individuals within this judicial district, such that some of Defendant’s

acts in making such calls have occurred within this district, subjecting Defendant to

jurisdiction in the State of Florida.

                                         FACTS

       12.    Beginning on or about March 17, 2022, and continuing through May 12,

2022, Defendant contacted Plaintiff with telephonic sales calls to Plaintiff’s cellular

telephone number:




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      13.    As demonstrated by the above screenshots, the purpose of Defendant’s

telephonic sales calls was to solicit the sale of consumer goods and/or services. The




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messages contained language such as “Celebrate the big race with our VIP Experience,

live music, and $10 Rose Mine Juleps. Book your experience today.”

      14.    Defendant’s calls were transmitted to Plaintiff’s cellular telephone, and

within the time frame relevant to this action.

      15.    Plaintiff registered his 7047 Number with the National do-not-call

registry on January 7, 2005 and has been registered at all times relevant to this action.

      16.    The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides

that “[n]o person or entity shall initiate any telephone solicitation” to “[a] residential

telephone subscriber who has registered his or her telephone number on the national

do-not-call registry of persons who do not wish to receive telephone solicitations that

is maintained by the federal government.

      17.    The website identified in the messages is owned and operated by

Defendant, where Defendant advertises its goods and services.

      18.    Defendant’s calls constitute telemarketing because they encouraged the

future purchase or investment in property, goods, or services, i.e., selling Plaintiff food

and beverages.

      19.    At no point in time did Plaintiff provide Defendant with his express

written consent to be contacted.

      20.    To constitute valid consent under Florida law, the called party must, inter

alia, “[c]learly authorize[] the person making or allowing the placement of a telephonic

sales call” to place such call “using an automated system for the selection or dialing of

telephone numbers[.]” Fla. Stat. § 501.059(1)(g).

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      21.    Upon information and belief, Defendant caused similar telephonic sales

calls to be sent to individuals residing in Florida and throughout the United States.

      22.    Upon information and belief, Defendant maintains and/or has access to

outbound transmission reports for all text messages sent advertising/promoting its

services and goods. These reports show the dates, times, target telephone numbers,

and content of each message sent to Plaintiff and the Class members.

      23.    Plaintiff is the regular user of the telephone number that received the

above telephonic sales calls.

      24.    To send the text messages, Defendant used a messaging platform (the

“Platform”), which permitted Defendant to transmit blasts of text messages

automatically and without any human involvement. The Platform automatically made

a series of calls to Plaintiff’s and the Class members’ stored telephone numbers with

no human involvement after the series of calls were initiated utilizing the Platform.

      25.    Defendant was not required to and did not need to utilize the Platform

to send messages to Plaintiff and the Class members. Instead, Defendant opted to use

the Platform to maximize the reach of its text message advertisements at a nominal

cost to Defendant.

      26.    Defendant would be able to conduct its business operations without

sending automated text messages to consumers.

      27.    Defendant would be able to send automated text messages to consumers,

and in compliance with the FTSA, by securing the proper consent from consumers

prior to sending text messages.

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      28.      Defendant would be able to send text messages to consumers without

consent by utilizing a non-automated text messaging system.

      29.      Accordingly, it is not impossible for Defendant to comply with the FTSA

in the context of transmitting text messages.

      30.      The burden and cost to Defendant of securing consent from consumers

that complies with the FTSA is nominal.

      31.      Compliance with the FTSA will not result in Defendant having to cease

its business operations.

      32.      Compliance with the FTSA will not result in Defendant having the alter

the prices of any goods or services it provides in the marketplace.

      33.      Compliance with the FTSA will not force Defendant to seek regulatory

approval from the State of Florida before undertaking any type of commercial

transaction.

      34.      The Platform has the capacity to select and dial numbers automatically

from a list of numbers, which was in fact utilized by Defendant.

      35.      The Platform has the capacity to schedule the time and date for future

transmission of text messages, which was in fact utilized by Defendant.

      36.      The Platform also has an auto-reply function that results in the automatic

transmission of text messages.

      37.      Plaintiff never provided Defendant with express written consent

authorizing Defendant to transmit telephonic sales calls to Plaintiff’s cellular telephone



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number utilizing an automated system for the selection or dialing of telephone

numbers.

      38.    More specifically, Plaintiffs never signed any type of authorization

permitting or allowing the placement of telephonic sales calls by text message using an

automated system for the selection and dialing of telephone numbers.

      39.    Plaintiff never provided Defendant with express written consent

authorizing Defendant to transmit telephonic sales calls to Plaintiff’s cellular telephone

number utilizing an automated system for the selection or dialing of telephone

numbers.

      40.    The text messages originated from telephone numbers +1(855) 943-3493

and +1(855) 959-4757, numbers which upon information and belief are owned and

operated by Defendant or on behalf of Defendant.

      41.    Defendant’s telephonic sales calls caused Plaintiff and the Class members

harm, including statutory damages, inconvenience, invasion of privacy, aggravation,

annoyance, and wasted time.

                               CLASS ALLEGATIONS

      PROPOSED CLASS

      42.    Plaintiff brings this lawsuit as a class action on behalf of himself

individually and on behalf of all other similarly situated persons as a class action

pursuant to Fed. R. Civ. P. 23. The “Class” that Plaintiff seeks to represent is defined

as:



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             No Consent Class: All persons in Florida who (1) were sent
             a telephonic sales call regarding Defendant’s goods and/or
             services, (2) using the same equipment or type of equipment
             utilized to call Plaintiff, within the time period of four years
             prior to the filing of the original Complaint through the date
             on which an Order granting class certification is entered.

             Do Not Call Registry Class: All persons in the United States
             who from four years prior to the filing of this action (1) were
             sent a call or text message by or on behalf of Defendant; (2)
             more than one time within any 12-month period; (3) where
             the person’s telephone number had been listed on the
             National Do Not Call Registry for at least thirty days; (4) for
             the purpose of selling Defendant’s products and services;
             and (5) for whom Defendant claims (a) it did not obtain prior
             express written consent, or (b) it obtained prior express
             written consent in the same manner as Defendant claims it
             supposedly obtained prior express written consent to call the
             Plaintiff.

      43.    Defendant and its employees or agents are excluded from the Class.

Plaintiff does not know the exact number of members in the Class but believes the

Class members number in the several thousands, if not more.

      NUMEROSITY

      44.    Upon information and belief, Defendant has placed telephonic sales calls

to telephone numbers belonging to thousands of consumers via an automated dialer

without their prior express written consent and while their numbers were listed on the

national do not call registry. The members of the Class, therefore, are believed to be

so numerous that joinder of all members is impracticable.

      45.    The exact number and identities of the Class members are unknown at

this time and can be ascertained only through discovery. Identification of the Class


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members is a matter capable of ministerial determination from Defendant’s call

records.

      COMMON QUESTIONS OF LAW AND FACT

      46.    There are numerous questions of law and fact common to the Class

which predominate over any questions affecting only individual members of the Class.

Among the questions of law and fact common to the Class are:

      [i] Whether Defendant initiated telephonic sales calls to Plaintiff and the Class

      members; [ii] Whether Defendant can meet its burden of showing that it had

      prior express written consent to make such calls;

      [iii] Whether Defendant utilized an automated system for the dialing or

      selection of numbers to be called;

      [iv] Whether Defendant violated 47 C.F.R. § 64.1200(c);

      [v] Whether Defendant’s conduct was knowing and willful; and

      [vi] Whether Defendant is liable for damages, and the amount of such damages.

      47.    The common questions in this case are capable of common answers. If

Plaintiff’s claim that Defendant routinely transmits telephonic sales calls without prior

express written consent is accurate, Plaintiff and the Class members will have identical

claims capable of being efficiently adjudicated and administered in this case.

      TYPICALITY

      48.    Plaintiff’s claims are typical of the claims of the Class members, as they

are all based on the same factual and legal theories and Plaintiff is not subject to unique

affirmative defenses that threaten to dominate the litigation.

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       PROTECTING THE INTERESTS OF THE CLASS MEMBERS

       49.    Plaintiff is a representative who will fully and adequately assert and

protect the interests of the Class and has retained competent counsel. Accordingly,

Plaintiff is an adequate representative and will fairly and adequately protect the

interests of the Class. The undersigned are experienced class action litigators, including

in the specific context of the FTSA, and neither Plaintiff nor the undersigned have any

interests in conflict with those of the putative Class.

       SUPERIORITY AND PREDOMINANCE

       50.    A class action is superior to all other available methods for the fair and

efficient adjudication of this lawsuit because individual litigation of the claims of all

members of the Class is economically unfeasible and procedurally impracticable.

While the aggregate damages sustained by the Class are in the millions of dollars, the

individual damages incurred by each member of the Class resulting from Defendant’s

wrongful conduct are too small (at most $1,500.00) to warrant the expense of

individual lawsuits. The likelihood of individual Class members prosecuting their own

separate claims is remote, and, even if every member of the Class could afford

individual litigation, the court system would be unduly burdened by individual

litigation of such cases.

       51.    The prosecution of separate actions by members of the Class would

create a risk of establishing inconsistent rulings and/or incompatible standards of

conduct for Defendant. For example, one court might enjoin Defendant from

performing the challenged acts, whereas another may not. Additionally, individual

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actions may be dispositive of the interests of the Class, although certain class members

are not parties to such actions.

       52.    Moreover, the previously articulated common questions predominate

over individual questions. Defendant used the same automated system to send

materially identical telemarketing messages to all members of the putative Class.

Whether the fact that Class members provided information into a generic data

harvesting lead generator constitutes valid consent within the meaning of the FTSA is

a question the answer to which is equally applicable to all members of the Class. As

such, there are no material individual questions at all—but even if there were, they

certainly do not predominate over the common questions.

                                       COUNT I
                       VIOLATION OF FLA. STAT. § 501.059
                    (On Behalf of Plaintiff and the No Consent Class)

       53.    Plaintiff re-alleges and incorporates the foregoing allegations as if fully

set forth herein.

       54.    It is a violation of the FTSA to “make or knowingly allow a telephonic

sales call to be made if such call involves an automated system for the selection or

dialing of telephone numbers or the playing of a recorded message when a connection

is completed to a number called without the prior express written consent of the called

party.” Fla. Stat. § 501.059(8)(a).

       55.    A “telephonic sales call” is defined as a “telephone call, text message, or

voicemail transmission to a consumer for the purpose of soliciting a sale of any

consumer goods or services, soliciting an extension of credit for consumer goods or

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services, or obtaining information that will or may be used for the direct solicitation of

a sale of consumer goods or services or an extension of credit for such purposes.” Fla.

Stat. § 501.059(1)(g).

       56.    “Prior express written consent” means an agreement in writing that:

              1. Bears the signature of the called party;

              2. Clearly authorizes the person making or allowing the placement of a
                 telephonic sales call by telephone call, text message, or voicemail
                 transmission to deliver or cause to be delivered to the called party a
                 telephonic sales call using an automated system for the selection or
                 dialing of telephone numbers, the playing of a recorded message when
                 a connection is completed to a number called, or the transmission of
                 a prerecorded voicemail;

              3. Includes the telephone number to which the signatory authorizes a
                 telephonic sales call to be delivered; and

              4. Includes a clear and conspicuous disclosure informing the called party
                 that:

                     a. By executing the agreement, the called party authorizes the
                        person making or allowing the placement of a telephonic sales
                        call to deliver or cause to be delivered a telephonic sales call to
                        the called party using an automated system for the selection or
                        dialing of telephone numbers or the playing of a recorded
                        message when a connection is completed to a number called;
                        and

                     b. He or she is not required to directly or indirectly sign the
                        written agreement or to agree to enter into such an agreement
                        as a condition of purchasing any property, goods, or services.

Fla. Stat. § 501.059(1)(g).

       57.    Defendant failed to secure prior express written consent within the

meaning of the FTSA from Plaintiff and the Class members.



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       58.    In violation of the FTSA, Defendant made and/or knowingly allowed

telephonic sales calls to be made to Plaintiff and the Class members without their prior

express written consent.

       59.    Defendant made and/or knowingly allowed the telephonic sales calls to

Plaintiff and the Class members to be made utilizing an automated system for the

selection or dialing of telephone numbers.

       60.    As a result of Defendant’s conduct, and pursuant to § 501.059(10)(a) of

the FTSA, Plaintiff and Class members were harmed and are each entitled to a

minimum of $500.00 in damages for each violation. Plaintiff and the Class members

are also entitled to an injunction against future calls. Id.

                                      COUNT II
                           VIOLATION OF 47 U.S.C. § 227
             (Individually and on behalf of the Do Not Call Registry Class)

       61.    Plaintiff re-alleges and incorporates paragraphs 1-52 as is fully set forth

herein.

       62.    The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides

that “[n]o person or entity shall initiate any telephone solicitation” to “[a] residential

telephone subscriber who has registered his or her telephone number on the national

do-not-call registry of persons who do not wish to receive telephone solicitations that

is maintained by the federal government.”




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       63.    47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable

to any person or entity making telephone solicitations or telemarketing calls to wireless

telephone numbers.” 1

       64.    47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall

initiate any call for telemarketing purposes to a residential telephone subscriber unless

such person or entity has instituted procedures for maintaining a list of persons who

request not to receive telemarketing calls made by or on behalf of that person or

entity.”

       65.    Any “person who has received more than one telephone call within any

12-month period by or on behalf of the same entity in violation of the regulations

prescribed under this subsection may” may bring a private action based on a violation

of said regulations, which were promulgated to protect telephone subscribers’ privacy

rights to avoid receiving telephone solicitations to which they object. 47 U.S.C. §

227(c).

       66.    Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be

initiated, telephone solicitations to telephone subscribers such as Plaintiff and the Do

Not Call Registry Class members who registered their respective telephone numbers

on the National Do Not Call Registry, a listing of persons who do not wish to receive

telephone solicitations that is maintained by the federal government.



1
 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No.
02-278, Report and Order, 18 FCC Rcd 14014 (2003) Available at
https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-153A1.pdf

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       67.      Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do

Not Call Registry Class received more than one telephone call in a 12-month period

made by or on behalf of Defendant in violation of 47 C.F.R. § 64.1200, as described

above. As a result of Defendant’s conduct as alleged herein, Plaintiff and the Do Not

Call Registry Class suffered actual damages and, under section 47 U.S.C. § 227(c), are

entitled, inter alia, to receive up to $500 in damages for such violations of 47 C.F.R. §

64.1200.

       68.      To the extent Defendant’s misconduct is determined to be willful and

knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of

statutory damages recoverable by the members of the Do Not Call Registry Class.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

following relief:

             a) An order certifying this case as a class action on behalf of the Class as defined

                above, and appointing Plaintiff as the representative of the Class and

                Plaintiff’s counsel as Class Counsel;

             b) An award of statutory damages for Plaintiff and each member of the Class,

                including treble damages;

             c) An order declaring that Defendant’s actions, as set out above, violate the

                FTSA;

             d) An order declaring that Defendant’s actions, as set out above, violate the

                TCPA.
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          e) An injunction requiring Defendant to cease all telephonic sales calls made

             without valid consent under the FTSA, and to otherwise protect the interests

             of the Class;

          f) Such further and other relief as the Court deems necessary.

                                   JURY DEMAND

      Plaintiff, individually and on behalf of the Class, hereby demand a trial by jury.

                    DOCUMENT PRESERVATION DEMAND

      Plaintiff demands that Defendant take affirmative steps to preserve all records, lists,

electronic databases, or other itemization of telephone numbers associated with the

communications or transmittal of the calls as alleged herein.

Dated: July 12, 2022

Respectfully submitted,

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